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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20040-M1

ROBERT SPENCER

Defendant.

-._.--._r\-._¢-._r\._¢-._¢~_/v~_'V-_,

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on June 23, 2005, the United States
Attorney for this district, Stephen Hall, appearing for the Government and
the defendant, Robert Spencer, appearing in person and with counsel, Robert
Irby, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count of the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this Case is SET for WEDNESDAY, SEPTEMBER 21, 2005, at
9:00 a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps
McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the §§ day Of June, 2005.

w amf wl

JON HIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

Thls document entered on the dockets n ce
with Rule 55 and/or 32{b) FHCrP on

 

 

ISTRICT COURT - WESRTE DISTRICT TNNESSEE

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This notice confirms a copy of the document docketed as number 98 in
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Honorable J on McCalla
US DISTRICT COURT

